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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10                               EASTERN DIVISION

11   EDMOND SHEALEE SMITH,                     ) No. 5:21-cv-00667-KES
                                               )
12         Plaintiff,                          ) JUDGMENT OF REMAND
                                               )
13             v.                              )
                                               )
     KILOLO KIJAKAZI, Acting                   )
14                                             )
     Commissioner of Social Security,
15                                             )
         Defendant.                            )
16                                             )
                                               )
17
18         The Court having approved the parties’ Stipulation to Voluntary Remand

19   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

20   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
21         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
22   captioned action is remanded to the Commissioner of Social Security for further
23   proceedings consistent with the Stipulation of Remand.
24
25   DATED: November 22, 2021
                                           HON. KAREN E. SCOTT
26                                         UNITED STATES MAGISTRATE JUDGE
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